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                        UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,                      No. 1:20-cr-183

              v.                                   Hon. Robert J. Jonker
                                                   Chief U.S. District Judge
KALEB JAMES FRANKS,

                  Defendant.
_________________________________/

         UNITED STATES’ MOTION TO REMOVE PLEADING FROM
                             CM/ECF

      The United States uploaded its response to Defendant’s Motion to Compel

Production of Jail Call Recordings (ECF No. 427) to the Court’s Case Management

and Electronic Case Files (“CM/ECF”) system on January 26, 2022. The uploaded

version inadvertently contained internal editing comments that are the work product

of the United States Attorney’s Office. The United States moves this Court to strike

that pleading and remove it from CM/ECF and allow the United States to upload a

clean copy.

                                             Respectfully submitted,

                                             ANDREW BYERLY BIRGE
                                             United States Attorney

                                              /s/ Jonathan Roth
Dated:   January 26, 2022                    JONATHAN ROTH
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